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 5
     Attorneys for Defendant Wei Hu
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                         Case No.: 2:14-CR-00220-KJM
10                  Plaintiff,

11   vs.                                               STIPULATION AND ORDER SETTING
                                                       FUTURE DATES RELATED TO
12   WEI HU,                                           WITNESSES’ 5TH AMENDMENT
                                                       OBJECTIONS
13                  Defendant

14          The defendant, by and through his counsel, Stuart Hanlon, and Daniel Malakauskas,

15   attorney for witnesses Richard Wensel and Mingdan Wei, per the Court’s order on May 26, 2016,

16   hereby stipulate as follows:

17          1. Defense counsel Stuart Hanlon and counsel for the witnesses, Daniel Malakauskas,

18              discussed this matter over the phone per the Court’s order.

19          2. Defense counsel has obtained court records related to the state court pleas of both

20              witnesses and provided the documents to their attorney. Attorney Malakauskas has

21              just received the documents and is requesting additional time to review the documents

22              before deciding whether a hearing will be necessary. He anticipates he will know

23              within a week.

24

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 1         3. Within a week from today’s date, the parties will advise the Court whether a hearing

 2            will be necessary and the scope of any agreement reached regarding testimony not

 3            privileged under the 5th Amendment.

 4         4. Defense counsel and attorney Malakauskas have proposed that if there is to be a

 5            hearing it be scheduled in late July depending on the Court’s availability – July 20th is

 6            a date agreeable for both attorneys. AUSA Highsmith has objected to this scheduling

 7            and would prefer to have the sentencing hearing completed in June. Attorney

 8            Malakauskas is starting a trial next week and does not believe that would give him

 9            sufficient time to adequately represent his clients.

10         5. The proposed briefing schedule, if necessary, would be as follows:

11                a. Attorney Malakauskas will file a motion asserting his clients’ 5th Amendment

12                    privilege by June 24, 2016;

13                b. Defense counsel will file a response within 10 days; and

14                c. Attorney Malakuaskas will file any reply within 4 days.

15         6. As defense counsel and the attorney for the witnesses have been able to agree on

16            potential dates and a potential briefing schedule, but the government is objecting to

17            that schedule, and as the attorney for the witnesses has just received the court file for

18            his clients and needs time to review it before determining if a hearing will be

19            necessary, it is respectfully requested that the Court grant the parties an additional

20            week to determine if the 5th Amendment issue can be resolved informally, rendering

21            the hearing moot and allowing the sentencing to go forward in June. If that request is

22            denied, there is a scheduling conflict between the government and counsel for the

23            witnesses that needs to be resolved.

24

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 1          7. In the interim, defense counsel will work with AUSA Highsmith, the interpreters, and

 2             the clerk to pick appropriate dates for continued testimony and judgment and

 3             sentencing.

 4
     Dated: June 2, 2016                                  /s/ STUART HANLON
 5                                                        _______________________________
                                                          STUART HANLON
 6                                                        Attorney for Defendant WEI HU

 7
     Dated: June 2, 2016                                  /s/ DANIEL MALAKAUSKAS
 8                                                        _________________________________
                                                          DANIEL MALAKAUSKAS
 9                                                        Attorney for RICHARD WENSEL and
                                                          MINGDAN WEI
10

11                                               ORDER

12          Good cause having been shown and by Stipulation of the parties herein,

13          IT IS HEREBY ORDERED that:

14      1) The parties advise the Court if a hearing will be necessary by June 9th, 2016 and the

15          scope of any agreement reached regarding the witnesses’ testimony. If a hearing is

16          necessary, the parties will advise the court of the hearing date and briefing schedule by

17          June 9th, 2016.

18      2) In the interim, defense counsel will work with AUSA Highsmith, the interpreters, and the

19          clerk to pick appropriate dates for continued testimony and judgment and sentencing.

20          IT IS SO ORDERED.

21   Dated: June 6, 2016

22
                                                      UNITED STATES DISTRICT JUDGE
23

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     STIPULATION AND ORDER SETTING FUTURE DATES RELATED TO WITNESSES’ 5TH AMENDMENT
     OBJECTIONS - 3
